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15                                                      Attorney for GSR Holdings, Inc.

16
                                      UNITED STATES DISTRICT COURT
17
                                    NORTHERN DISTRICT OF CALIFORNIA
18
                                             OAKLAND DIVISION
19

20   In re RIPPLE LABS INC. LITIGATION,                 DISCOVERY MATTER

21                                                      Case No. 18-cv-06753-PJH

22   This Document Relates To:                          STIPULATION AND [PROPOSED]
     ALL ACTIONS                                        ORDER TO EXTEND TIME OF MOTION
23                                                      FOR RELIEF FOR GSR HOLDINGS, INC.

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                         STIP AND PO TO EXTEND TIME OF MTN FOR RELIEF FOR GSR HOLDINGS
                                             CASE NO. 18-cv-06753-PJH
     10638810v1/016433
       Case 4:18-cv-06753-PJH Document 176 Filed 06/03/22 Page 2 of 6




1              Pursuant to Civ. L.R. 6-2, Lead Plaintiff Bradley Sostack (“Plaintiff”), Defendants Ripple
2    Labs Inc, XRP II, LLC, and Bradley Garlinghouse (collectively, “Defendants”), and GSR
3
     Holdings, Inc. (“GSR”) hereby stipulate as follows:
4
               WHEREAS, on April 28, 2022, the Court ordered that Defendants produce all documents
5
     and written discovery produced in Securities and Exchange Commission v. Ripple Labs, Inc., 20
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7    Civ. 10832 (AT), S.D.N.Y) (the “SEC Action”) and that Plaintiff must provide notice to all

8    relevant third parties who have not previously consented to production within seven days of the

9    Order (the “April 28, 2022 Order”);
10             WHEREAS, in the April 28, 2022 Order, the Court also ordered that any third party who
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     does not consent to production must notify both Plaintiff and Defendants of their intent to object
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     within fourteen days of receipt of the notice and must file any motion for relief within twenty-one
13
     days of receipt of such notice;
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15             WHEREAS, on May 4, 2022, Plaintiff provided notice of the April 28, 2022 Order to

16   GSR, a third party in this matter who produced documents in the SEC Action;

17             WHEREAS, GSR timely notified Plaintiff and Defendants of its intent to object to
18
     production by May 18, 2022;
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               WHEREAS, after receiving GSR’s notification, Plaintiff and GSR met and conferred over
20
     telephone and email about the documents that GSR will produce to Plaintiff pursuant to the April
21
     28, 2022 Order;
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23             WHEREAS, on May 24, 2022, the parties filed a stipulation to extend the deadline for any

24   motion for relief until June 2, 2022, which the Court granted, see Dkt. 172, 174;
25             WHEREAS, Plaintiff and GSR have continued to meet and confer about the documents
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     that GSR will produce;
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1              WHEREAS, the parties request to extend the June 2, 2022 deadline for GSR to seek relief
2    from the Court to allow the parties to continue to meet and confer productively; and
3
               WHEREAS, granting this extension is not expected to affect the schedule for the matter.
4
               NOW, THEREFORE, IT IS HEREBY STIPULATED by and between Lead Plaintiff,
5
     Defendants, and GSR, through their respective counsel, that:
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7              1. GSR’s deadline to move the Court for relief from its April 28, 2022 Order is extended

8                   until June 24, 2022.

9    Dated: June 2, 2022                         By: /s/ Nicholas N. Spear
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26
     Dated: June 2, 2022                         By: /s/ Suzanne E. Nero
27                                                  Damien J. Marshall (pro hac vice)
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                                                       2
                         STIP AND PO TO EXTEND TIME OF MTN FOR RELIEF FOR GSR HOLDINGS
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13                                                  Attorneys for Defendants Ripple Labs Inc.,
                                                    XRP II, LLC, and Bradley Garlinghouse
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15   Dated: June 2, 2022                         By: /s/ Michael A. Hanin
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       Case 4:18-cv-06753-PJH Document 176 Filed 06/03/22 Page 5 of 6




1                                        [PROPOSED] ORDER
2              PURSUANT TO STIPULATION, IT IS SO ORDERED.
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5    Dated: June 3, 2022
6                                             Robert M. Illman
                                              United States Magistrate Judge
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                                             CASE NO. 18-cv-06753-PJH
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       Case 4:18-cv-06753-PJH Document 176 Filed 06/03/22 Page 6 of 6




1                                               ATTESTATION

2              Pursuant to Civil Local Rule 5-1(i)(3) regarding signatures, I attest that concurrence in the

3    filing of this document has been obtained from the other signatories.

4

5    DATED: June 2, 2022                             /s/ Nicholas N. Spear
                                                     Nicholas N. Spear
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